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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

FEDERAL TRADE COMMISSION, CASE NUMBER:

LA17CV07048-SJO (KSx)
PLAINTIFF(S)

¥,

ALLIANCE DOCUMENT PREPARATION, LLC, et al.

 

REQUEST FOR APPROVAL OF
SUBSTITUTION OR WITHDRAWAL
DEFENDANT(S) OF COUNSEL

 

 

INSTRUCTIONS

Generally, an attorney may withdraw from representing a party in a case without the Court's permission if another
member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member in good standing of the Bar of this Court representing that party. In that circumstance, the withdrawing
attorney should complete and file a “Notice of Appearance or Withdrawal of Counsel” (Form G-123), instead of this
“Request for Approval of Substitution or Withdrawal of Counsel” (Form G-01).

Notably, however, Court permission for withdrawal or substitution is required if no member of the withdrawing
attorney's firm or agency will remain as counsel of record. In such circumstances, the attorney(s) seeking to withdraw
should complete and file this "Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01), and submit
a proposed "Order on Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01 Order).

If the circumstances surrounding an attorney's withdrawal or request to substitute other counsel are not covered by this
Form G-01, the attorney may instead file a regularly noticed motion supported by a more detailed memorandum of
points and authorities.

SECTION I - WITHDRAWING ATTORNEY

Please complete the following information for the attorney seeking to withdraw (provide the information as it currently
appears on the docket; if the attorney appeared pro hac vice, enter "PHV" in the field for "CA Bar Number"):

Name: BABAK LALEZARI, ESQ, CA Bar Number: 261703

 

Firm or agency: REDEFINE LAW FIRM, INC.

 

Address: 4311 Wilshire Blvd., Suite 205, Los Angeles, CA 90010

 

Telephone Number: 310-571-5297 Fax Number: 310-684-5793

 

 

E-mail: blalezari@redefinelawfirm.com

 

Counsel of record for the following party or parties: Defendant, Shawn Gabbaie

 

 

 

Other members of the same firm or agency also seeking to withdraw:

 

 

 

 

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SECTION II - NEW REPRESENTATION

[-] No new counsel is necessary. The party or parties represented by the attorney(s) seeking to withdraw will continue
to be represented by another attorney/firm who has already entered an appearance as counsel of record for that
party or parties in this case, and who is a member in good standing of the Bar of this Court.

[] The party or parties represented by the attorney(s) seeking to withdraw have not retained new counsel and wish to
proceed pro se, as self-represented litigants.

The party or parties represented by the attorney(s) seeking to withdraw have retained the following new counsel,
hadas cinchotitnrogodasanding Gf thé Bar of this Court:

 

CA Bar Number: 174400/203512

 

 

TRESSLER LEP

 

 

 

Address: 1901 Avenue of the Stars, Suite 450, Los Angeles, CA 90067

Telephone Number: 310-203

Fax Number: 310-203-4850

     
    

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E-mail: dtressleriip.com/e:

 

mussera lerllp.com

 

 

 

 

[am currently counsel of record in this case, and am identified above in Section Tas the "Withdrawing Attorney.” I have
given notice as required by Local Rule 83-2.3. I hereby request that | and any other attorney(s) listed in Section I be

allowed to withdraw from this case,

Date: October (7 2017

Signature:

 

Name:

 

 

New Attorney (if applicable)
[ have been retained to appear as counsel of record in this case, and my name and contact information are given above in

Section I. | ama member in good standing of the Bar of this Court.

Date: Octabery7, 2017 Signature: / Wills Cle

Name: Matthew C. Elstein, Esq.
Party Represented by Withdrawing Attorney
am currently represented by, or am an authorized representative of a party currently represented by, the Withdrawing

 

Attorney listed above. [consent to the withdrawal of my current couns el, and to (check if ap

[X} substitution of counsel as speciiied above

  
  

[} representing myself pre se in this case.

 

Signature:

 

 

 

 

Name:
Title:
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I CERTIFICATE OF SERVICE

4 I hereby certify that on October 18, 2017, I caused the foregoing REQUEST
5 || FOR APPROVAL OF SUBSTITUTION OF COUINSEL to be electronically filed
6 ||with the Clerk of the Court using the CM/ECF system, which will send
7 ||notification of the filing to all participants in the case who are registered CM/ECF

8 || users.

10 /s/ Matthew C. Elstein

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CERTIFICATE OF SERVICE

 

 

 
